Re: Motion to Dismiss
                    Case 4:17-cv-01618 Document 34-1 Filed in TXSD on 05/18/18 Page 1 of 1

          Subject: Re: Motion to Dismiss
          From: Shahjahan Durrani <shahjahandurrani@hotmail.com>
          Date: 5/7/18, 12:59 PM
          To: Erin Russell <erin@russellfirmchicago.com>

          Hi Erin,
          As discussed on the call I want you to stop representing me from the case. I don’t have enough resources to fight
          this case completely with four kids that I am raising and anything more I do will be seem to be submitting to the US
          Courts which I am not going to do unless I have enough money to fight the case.

          I am thankful to you and your support during the trial.

          Durrani




1 of 1                                                                                                                    5/18/18, 2:15 PM
